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           EXHIBIT 6
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****************************NARRATIVE                                # 5 ***************************
NA                                    Reported By: RECAREY, JOSEPH                                              9/26/05
                                      Entered By.: ALTOMARO, NICKIE A.                                          9/28/05

        Copies of the tapes that were submitted into evidence were requested.
        Additionally, trash pulls were started o~1t{iJWiji, ,'.I, -1 - ~                       ~    Sgt.
        Szarszewski made telephone contact with Tony 1gg1n s, Superv'i"sor of
        the Sanitation Department, and requested tha~ ~~ash be collected a~ .
        the Epstein House located at 358 El Brillo in Palm Beach. Sgt
        Szarszewski met with Sanitation worker, Jeff Williams and observed him
        enter the property at 358 ~l Brillo. Shortly thereafter, Williams
        exited the property and placed the three white trash bags in the empty
        well in the rear of the truck. Williams then drove away where he met
        with Sgt . Szarszewski who removed the bags from the well and placed
        them into one large black trash bag. The bag was returned to the
        Police Station where I was waiting for him. Upon his arrival, we
        inspected the bags where several notes and papers were found. These
        notes contained names of girls with times . Additionally, there was a
        nd~-f.-.i?ertt-_ _ -=-; - and~ _   ~&o Jef£rey Epstein op a notepad~ \#fPich
        state~ - - a =goQ,_.a,. 't!me . call --__ 1. and   .......,....-at,.J_ _           • !' Also,
        there was another telephone number on the note -                        --    . Also found
        was a written note, which sta,S:ell,          I~ __
                                                         can •- · ~              me,,.a,t~     .ij.jh -
       •ili?ff.~ecause of so~ce~ . <These items w~*e-written on notepad\ tha~
       .conta~n Jeffrey Epstein on c he bottom of the notes:!' These items were"-
        pl;aeed into evidence for futu't"e follow up. I requested.ts ,                                  • y
        su,p~criber informata,_oai0n l he telephone numbers listed above on t ne
        n.6.t:-e•4fr;,om          and • •· . The cellular telephones ••••■ and
                        are both assigned to Cingular Cellular Service . Other notes
        were found within the trash on Jeffrey Epstein pad, papers that
        contained telephone numbers. One note had 11 •                        '  with
        written on it . This cellular number is assigned to Cingular Cellular
        Service. Another sheet had written 434 - 7788 which is assigned to Bell
        South Telecommunications. The subpoenas were picked up and submitted
        to Cingular and Bell South Telecommunication for subscriber
        information.
       On September 22, 2005, I was informed by Sgt. Szarszewski that there
       would be no trash pick up as it was recycle pick up day. A request
       for copies of the micro and standard size cassettes were requested
       from crime scene to familiarize myself with the interviews conducted.

       On September 23, 2005, the tapes were received and I began to become
       familiar with the interviews that were conducted. Det. Krauel had met
       with Town of Palm Beach Sanitation worker, Jeff Williams and observed
       him enter the property of 358 El Brillo . Shortly thereafter, Williams
       exited the property and placed the three white trash bags in the empty
       well in the rear of the truck. Williams then drove away where he met
       with Det. Krauel who removed the bags from the well and placed them
       into one large black trash bag. The bag was returned to the Police
       Station where I was waiting for him. Upon his arrival, we inspected
       the bags where several notes and papers were found. The notes will be


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     inspected for future use.        The items collected were placed into
     evidence.

    It became evident that some of the recordings were recorded with
    background noise and some interference. The calls most affected were
    the control phone calls from the victim to the suspect Haley Robson.
    I obtained the graphic equalizer and discovered that the calls are
    able to be legible with the use of the equalizer by lowering the
    background noise and increasing voice gain.  I also learned that a
    tape was broken during the coping of the tape. I returned the copy of
    the tape marked Property Number 05-243 to have it recopied to have an
    original in evidence and a working copy with the file.

    Upon researching the file, it was discovered that the suspect, Haley
    Robson's cellular calls were subpoenaed incorrectly. The suspect
    telephone number was 561- 308-0282 and the original request was for
    561-908-0282. I requested the information through Cingular Cellular
    Service from February 2005 through the present. The purpose was to
    have a record of Robson making calls to victim, Jeffrey Epstein and
    the frequency of calls. The request was submitted to the State
    Attorney's Office.

    Investigation Continues ... .


****************************NARRATIVE        # 6 ***************************
NA                    Reported By: KRAUEL, CURTIS D.                10/06/05
                      Entered By.: ALTOMARO, NICKIE A.              10/06/05

    On or about September 23, 2005 at approximately 0915 hours, I
    responded to 358 El Brillo and met with PB Sanitation worker Jeff
    Williams. Williams had been previously notified to assist in trash
    pulls at the residence of Jeffrey Epstein, 358 El Brillo, Palm Beach,
    Florida.  I observed Williams enter the driveway of 358 El Brillo and
    remove several plastic bags of trash and place the contents into the
    back of an empty sanitation truck.

    I then followed Williams to a predetermined location and seized the
    trash from the truck. The trash was transported to the Palm Beach
    Police Department where I began sifting through its contents . There
    was a total of 4 white in color plastic bags and eac h contained
    documentation and correspondence for 358 El Brillo and J effrey
    Epstein. All documents of evidentiary value were removed and turned
    over to Det. Recarey for follow- up .

    On or about September 26, 2005 at approximately 0900 h o urs, I
    responded to 358 El Brillo and met with PB Sanitation worker Jessie
    Jones. Jones had been previously notifi ed to assist in trash pulls at
    the residence of Jeffrey Epstein, 358 El Brillo, Palm Beach, Florida.
     I observed Jones enter t he driveway of 358 El Brillo, where no trash
    was l ocated within the receptacles.  I left the area without incident
    and notified Det . Recarey to that affect.


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     On or about September 27, 2005 at approximately 0915 hours, I
     responded to 358 El Brillo and met with PB Sanitation worker Jesse
     Jones.  I observed Jones enter the driveway of 358 El Brillo and
     remove one plastic bag of trash and place it in the back of an empty
     sanitation truck.

     I then followed Jones to a predetermined location and seized the trash
     from the truck. The trash was transported to the Palm Beach Police
     Department where I began sifting through its contents. There was a
     total of 1 white in color plastic bag which contained correspondence
     for 358 El Brillo. All documents of evidentiary value were removed
     and turned over to Det. Recarey for follow-up.

     On or about Monpay October 3, 2005 -.at approximately 0915 hours, I
     responded to 358 El Brillo and met with PB Sanitation worker Jeff
     Williams.  I observed Williams enter the driveway of 358 El Brillo and
     remove several plastic bags of trash and place the contents into the
     back of an empty sanitation truck.

     I then followed Williams to a predetermined location and seized the
     trash from the truck. The trash was transported to the Palm Beach
     Police Department where I began sifting through its contents. There
     was a total of 7 white in color plastic bags with a red tie and 1
     black in color bag which contained 2 white in color plastic bags with
     a red tie. Each of the bags contained documentation and
     correspondence for 358 El Brillo and Jeffrey Epstein. ~nside of one
     of the white in color bags, I located a broken piece of a hard plastic
     or clear acrylic stick, which was shaped with small ridges. This •
     device is commonly used as a sexual toy which is inserted into the
     vagina or anus for stimulation. Xhis item, along with all documents
     of evidentiary value were removed and turned over to Det. Recarey for
     follow-up.

     On or about Tuesday October 4, 2005 at approximately 0928 hours, I
     responded to 358 El Brillo and met with PB Sanitation worker Jeff
     Williams . I observed Williams enter the driveway of 358 El Brillo and
     remove several plastic bags of trash and place the contents into the
     side well of the sanitation truck. This side of the truck is separate
     from the rear of the truck and does not come into contact with other
     trash.

     I then followed Williams to a predetermined location and seized the
     trash from the truck. The trash was transported to the Palm Beach
     Police Department where I began sifting through its contents. There
     was a total of 2 white in color plastic bags which were tied at the
     top.  Each of the bags contained documentation and correspondence for
     358 El Brillo and Jeffrey Epstein. All documents of evidentiary value
     were removed and turned over to Det. Recarey for follow-up.

     On or about Wednesday October 5, 2005 at approximately 0928 hours, I
     responded to 358 El Brillo and met with PB Sanitation worker Jeff


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     Williams. I observed Williams enter the driveway of 358 El Brillo and
     remove several plastic bags of . trash and place the contents into the
     bed of the sanitation truck.

     I then fol lowed Will i ams to a predetermined location and seized the
     trash from the truck. The trash was transported to the Palm Beach
     Police Department where I began sifting through its contents, with the
     assistance of Det. Recarey . There were a total of 2 bags, one of
     which was white in color and tied in a knot at the top, and the other
     was a black in color bag, which contained two white in color trash
     bags along with loose debris. Each of the bags contained
     documentation and correspondence for 358 El Brillo and Jeffrey
     Epstei n. All documents of evidentiary value were removed and turned
     over to Det. Recarey for follow-up.

****************************NARRATIVE                  # 7 ***************************
NA                              Reported By: RECAREY, JOSEPH                  10/07/05
                                Entered By.: ALTOMARO, NICKIE A.              10/07/05

     I met with Det. Krauel and requested further assistance to maintain
     trash collections at Epstein's residence at 358 El Brillo Road. On
     October 3, 2005, at approximately 10:30 am, I was contacted by Sgt.
     Frick to respond to the Palm Beach Police Station. Det. Krauel had
     observed Jeff Epstein riding his bicycle on South County Road. Upon
     my arrival, I met with Sgt Frick who advised, as Epstein was currently
     in Town; we interview Haley Robson as to her involvement with Epstein
     and the girls that are brought to his house. As we were to interview
     Robson in the county, (outside of our jurisdiction), I contacted the
     State Attorneys Office Investigation Division, and made contact with
     Assistant Supervisor Investigator Carlos Ortiz.  I requested
     assistance to interview Robson as the interview may occur in the
     county. s ervisor Ortiz assigned Investigator Mike Waites . to assist
     us at the location and interview of Robson .

     Det. Dicks had responded to the address of Robson and viewed her
     vehicle parked in the driveway. Robson ' s vehicle a red Plymouth Neon
     baring Florida Tag of H49 - PKB was parked in the driveway of 12247 72nd
     Court in Loxahatchee . Sgt Frick and I responded to 120th Ave and
     awaited the arrival of Investigator Mike Waites. Upon his arrival, he
     was briefed that should she wish to be interviewed within her home he
     would be needed. However, should Robson agree to return to the police
     station for further questioning, he would not be needed. Sgt. Frick
     and I knocked on the door and met with Haley Robson. Robson was told
     that we were investigating a claim involving Jeffrey Epstein of El
     Brillo in Palm Beach. Robson was asked if she wanted to accompany us
     back to the police station for further questioning. She was also told
     that at the conclusion of the interview she would be returned home.
     She agreed and wished to change her clothes prior to accompanying us
     back to the police station. At the conclusion of her changing
     clothes, she advised she was ready to go.    I thanked Inv. Waites and
     advised she was going to voluntarily return to the police station.



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     Upon Robson sentry in the unmarked Detective vehicle, I placed a tape
     recorder within the vehicle to record any conversations within the
     vehicle. During the ride back to the police station, Robson advised
     she is attending Palm Beach Community College at the Palm Beach
     Gardens Campus and is majoring in journalism.

        Upon our arrival at the police station, Robson was brought to the
        interview room in the Detective Bureau. I explained to Robson that I
        appreciated her willingness to assist us and informed her that should
        she desire to l eave at any time she may do so. I further explained
        the i nterview room door is only closed for privacy. Robson stated she
        understood . During the taped sworn interview, Robson was asked how
        she came in contact with Epstein. Robson st~ ~c k,...when she turned
        1 7 years c;>.f ~. .,w as aoor,,o ac hed...Jn,:: •r1 n . · •. Y.:....in::S~ ..:...~ ~nopy . .
        Beac h ~~e.s o"rl: i n River a Beach . Robson was asked if she wanted to make
        money.

        She was told she would have to provide a massage and should make
        $200.00. Robson thought about the offer and agreed to meet with
        Jeffrey. Molly (Unknown last name) and Tony (Unknown last name)
        picked her up and she was taken to Epstein's house. Upon her arrival
        at the house, she was introduced to Epstein~ \ the kitchen of the
        house. She was also introduced to a white eemal e known to her as •
        Sar-a. She was led upstairs to the main bedroom known to her a s Jeff
        Epstein s bedroom. Sara prranged the massage table and coY,ered the
        t able with a sheet . She b r ought out the massage oils and laid them
        next to the massage bed. Sara then left the room and informed her
        Jeff would be in a minute. Jeff entered the bedroom wearing only a
        towel. He lay on the table onto his stomach and picked massage oil
        for Robson to rub on h i m. During the massage , Robson stated, He trj ed
        to touch me and I stopped him. I asked how he tried to touch her . He
        grabbed her buttoc ks and she felt uncomfortabl:,e . Robson also stated
        E~ tein -has a vi_b rator., hi-ch is large and whi te in _:Polor · Robson
        toitl ~ p 'tt~1n , "i:'1.1 massage you but I dot 1 t wa nt to be touched. Robson
        stated she p ~ ~ormed the massage naked.. At the conclusion of the             •
        ma~       ";-""Epstein paid Robson $200 . oo ,for the massage . He explained., ~
        knpw you re not comfortable, bu~ ""'t~.l._ pay you if you bring some girl ~
        He t e ld her the younger the better. Robson stated she once t r ied to
        bring a 23-year- old female and Epstein stated that the female was too
        old. Robson was asked how many girl s she brought in total to Eps tein.
        Robson stated six that she can remember. Robson stated she brought~

    -            and the victim in this case.
        I asked Robson whic h one was the y o ungest. Robso n advis ed the victim
        was the youngest. Robson .stated every girl she brought knew what to
        expect when they arrived :·~ They were told they would provide a
        massage, possibly naked, and some touching. I asked her if the victim
        was aware. She stated every girl she brought knew what t o expect .
        She expl ained she knew the victim wanted to make money . She
        approached the victim and explained about going to work f o r Jeff . The
        v i ctim agr eed and arrangements were made to bring the victim to


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     Epst~in'.s ho~s~ on a weekend. __ §~~~~q te,at s es.,.Jtn~ _
      (:t!,!~i: 1del'lt1fied.~f _ __ _ -.:i--- --1 picked up tlie v1.c.t1m at th~
     vd.ctim s house.· They traveled to Epstein's House and entered through
     the kitchen door. They met with the house chef and Epstein                      I
     assistant Sara. The vict i m was introduced to Epstein while they were
     in the kitchen area. Sara led the victim upstairs and Epstein went
     upstairs. When the massage was over, the victim returned to the
     kitchen area. Robson stated she was paid $200.00 for bring the victim
     to Epstein's. Robson stated the victim told her she was paid $300.00
     for the massage. Back in the vehicle, Robson asked the victim what
     happened. The victim told her about the massage and then they went
     shopping. Robson stated the victim was the last person she brought to
     Epstein. She further stated that she had changed her cellular number
     to avoid being contacted by Sara. She continued that when Epstein
     announces to his assistant that he is traveling to Palm Beach, Sara
     would contact Robson to arrange girls for Epstein . Sarah, later
     identified as Sarah Kellen Date of Birth 05-25- 1979, had told
     Robson that Jeff likes to have his fun with the girls.

     Robson stated that once her parents discovered that she was visiting
     Epstein, they disapproved of the encounters with him and she stopped.
     Robson further stated that Sara still tries to call the house and
     leaves messages. With the assistance of Robson, we were able to
     identif              ., DOB                          DOB
                        DOB O                             DOB
     Sgt Frick entered the room and explained that based on her own
     statements, she had implicated herself with bringing underage girls to
     Epstein's house. Robson was aware of what she had stated and wished
     to assist further in hopes to receive a lesser charge. Robson
     provided cellular telephone numbers for the girls she had mentioned
     previously. Additionally, she also provided possible addresses and
     areas in which they lived. As Robson was being taken home in the
     vehicle, a tape recorder was placed within the vehicle to record any
     conversations within the vehicle. Dur"1:ng the drive baGk...t ,P -h~.Jiome ,
     Robson made the comme t Im like a Heidi Fliess.    (Hollywood Madam who
     sent girls to clients for sexual favors in cari ~rnia). Robson was
     dropped off at her house without incident.

     Sgt Frick and I went to 14843 93rd Street North in Loxahatchee,
     Florida in an attempt to speak with • • •       ~-•■      We met with
     Mrs .                       other) a t           door. We explained
     the ongoing investigation and felt that       - : may have additional
     information as we had information that she had worked for Jeff . Mrs.
               introduced us to her husband and allowed us entry into the
     home. We sat in the dinning room and met with
     Date of Birth              As she was under th                  ,
               was advised we would be speaking with her. She expressed,
     if her daughter had information she wanted to assist . As we
     interviewed       I   ·-      I she denied having any inappropriate
     encounters with Jeff (Epstein}. She stated she had gone to Jeff s
     House with Haley Robson approximately eight months ago and sat in the


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     kitchen with the house chef but nothing happened. As the parents were
     present during the interview, we felt that •- - - - was withholding
     information from us. She made several comments as to she has put the
     entire incident behind her. I left my direct telephone number and
     advised should she wish to speak with me again to telephone me. Sgt
     Frick and I thanked Mrs.    -      for her time and left the area.
     She stated she would ask her again after we left as to what happened
     at Epstein s house. I informed her that - - had my telephone
     number and hopefully she would call.

   ~ r i c k and I then attempted contact with                 at
   ~      in Loxahatchee. We met with -             · who stated   .. __ 1 was
     her daughter .   .. . was at the Wellington Mall and was not home. We
     explained the ongoing investigation and felt the        may have
                                                                   4
                                                                       •



     additional information as we had information that she had worked for
     Jeff. We left our phone numbers and asked her to telephone me upon
     her daughter's return. We then left the area .

     On October 4, 2005, at approximately, 8:05 am, Sgt Frick had retrieved
     a voice mail message from             _ _____.t . She stated she had spoken
     with her daughter and she had information as to what occurred at Jeff
     s house.  I contacted         · - · ·~ who stated her daughter was in the
     shower at the moment and would be traveling back to Orlando to attend
     College. I informed her I would be en route to her home in
                   Det. Dawson and I drove to th~                home and met with
                   and   ... __ ________ , Quring a sworn taped statement, .                      4
                                                                                                        •



            stated she Was taken to the house by Haley Robson. She was
     told she could make money working for Jeff. She was told she would
     have to provide a massage to Jeff. -              stated upon her arrival to
     the house she was brought to the kitchen area by Robson.

    They met with the house chef and Haley stayed in the kitchen. She was
    introduced to Sara, Jeff's assistant and was brought upstairs to the
    mater bedroom . Sara prepared the room and massage table for a
    massage. Epstein entered the room and she provided a massage.
    stated she kept her clothes on during the massage. She stated
    sometime dur~ the massage Epstein grabbed her buttocks and pulled
    her clo§'e to" him . _ -.., ___ said she was wierded out by the incident
    involving Jeff. At the conclusion of the massage, she was paid
    $200.00 for the massage. I asked -           _ if she has any formal training
    in massages to which she replied no. I asked her if Robson received
    any monies for taking her to perform the massage.          . .... ___ stated Robson
    also received money for taking her there. _ .. · stated she went with
    Robson and another girl,'                     to Jeff's house once.
    stated she waited in the kitchen with Robson, while -                    was taken
    upstairs by Sara. -         -- stated she only did the massage o n ce, as she
    was wierded out by the whole experience. At the conclusion of the
    interview and the t ~ s stopped, I was informed that Sara had
    attempted to reach - - via cell phone. A voice mail message on
    October 4, 2005 at 10:59 am, revealed a female voice who identified
    herself as Sara who requested her to call her back reference the
    police questioning. This voice mail message was recorded onto a micro


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     cassette.             ?rovided the incoming telephone n-
     917-855 - 3363       ·· I s.tated she inadvertently told                about
     the police inves igatio n because - --- - - ~ had called her t o t~
     abqut how she just received a rental car from Jeff Epstein. - - - -
     haa c~ Tlea- ffer t o tell her that she was given a rental c~ r, a 2005
     Silver Nissan Sentra, to utilize to visit family and visit Jeff.
            asked her what was going on at the house that the police would
     be asking questions. - .. - stated -- _____ _ then called Jeff and Sara
     and asked what was going on reference the ongoing police
     investigation . According to - ~-··• Sara has since then been t ~ to
     contact her to ask about the police questions. I instructed - -           not
     to contact Sara and do not provide any more information to • •            as
     she would notify Jeff Epstein and Sara what was transpiring.
     Investigation Continues ...


****************************NARRATIVE         # 8 ***************************
NA                     Reported By: LEE, LA'MONT                     10/07/05
                       Entered By.: ALTOMARO, NICKIE A.              10/07/05
     On March 30, 2005, I was asked by Sgt. Daniel Szarszewski to begin
     conducting surveillance and trash pulls reference Detective Pagan
     conducting a criminal investigation involving Jeffrey Epstein. I was
     advised that Epstein was possibly engaging in sexual contact with
     young females.

     On March 30, 2005, I made contact with Town of Palm Beach Sanitation
     Office Supervisor Tony Higgins and requested trash pulls for 358 El
     Brillo Way to begin on March 31, 2005.
     On March 31, 2005 at 9:20 a.m., I responded to the area of 358 El
     Brillo Way and met with Town of Palm Beach sanitation employee,
     Jeffrey Williams. I observed Williams enter the driveway of 358 El
     Brillo Way, collect the trash bags from Epstein s property and place
     the contents into an empty sanitation truck . I followed Williams to a
     nearby area, were he turned over seventeen white plastic trash bags,
     which were collected from Epstein s property.

     I took the trash bags to the sanitation department were I s if t ed
     through its contents. I collected mai l correspondence from Armani
     Exchange addressed to Nada Marcinkova, Jeffrey E. Epstein notepaper
     with Julie ( 561)801-3590, an impo rtant message notepaper addressed to
     J.E dated 03/29/05 at B:i s p.m. reference Peggy Seagal, U.S Airways
     boarding pass copy for passenger, Janusz Banasiak, Montgo mery County,
     Maryland Health Department f o od service ID NO#40820 for Jan us z
     Banasiak and Ghislaine Maxwell note paper wit h names and pho ne numbe rs .
      Photocopies of the trash collec ted were attached with the supplement .
     Detective Pagan was advised of the contents that were collect ed for
     evidentiary value.

     On March 31, 2005, Sgt. Daniel Szarszewski r e quested that I set up a


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     surveillance vehicle on El Brillo Way and conduct video surveillance
     of the front exterior of Epstein s residence . At 3:00 p.m . , I set up
     a surveillance vehicle equipped with a video monitoring device. The
     surveillance vehicle was parked on El Brillo Way approximately fifty
     feet east of Epstein s driveway. The purpose of the video
     surveillance was to gather investigative intelligence by monitoring
     and recording all vehicle and pedestrian traffic entering and leaving
     Epstein s property.

     The video surveillance tapes were changed daily with a new Maxell
     T-160 VHS tape. Video surveillance was established for Epstein s from
     March 31 , 2005 through April 05, 2005. O~ April 05, 2005, video
     surveillance was concluded. I reviewed the video tapes and advised
     Detective Pagan the surveillance videos yielded no evidentiary value.

    On April 01, 2005 at 9:30 a.m., I responded to the area of 358 El
    Brillo Way to meet with Town of Palm Beach sanitation employee, Jessie
    Jones. While parked in the area of 358 El Brillo Way waiting to
    collect Epstein s trash, I observed a white female, who I recognized
    as Nada Marcinkova from her Florida drivers license photograph. I
    made no contact with Marcinkova. While parked in the area, I also
    observed Epstein s GMC Yukon truck leave the property as well as other
    vehicles arrive and park across the street from the property. The
    occupants of these vehicles appeared to be housekeepers, maintenance
    men, and gardeners.

    At 9:38 a.m., I met with Town of Palm Beach sanitation employee,
    Jessie Jones.  I observed Jones enter the driveway of 358 El Brillo
    Way and collect the trash from Epstein s property. I followed Jessie
    to a predetermined area at which time I collected the trash bags from
    the sanitation truck. I transported the trash bags to the sanitation
    department, where I sifted through its contents. I collected mail
    correspondences addressed to Jeffrey Epstein, automotive records and
    personal documents for Janusz Banasiak and Beata Banasiak as well as
    Jeffrey Epstein notepaper with the names and appointment times for
    Vanessa and Brittany. No last names or other personal information was
    written on the notepaper .

    While sifting through Epstein s trash, "1.. also collected a three-inch
    purple finger size object, which had a b r oken end. The object        ~
    a ppeared to be a broke piece from a sexual toy similar to a (Cyclone
    Vibrator) possibly used for rectal gratification. The sexual object
    was photographed for Detective Pagan, packaged in a biohazard evidence
    bag (possible body fluids) and secured as investigative evidence. All
    items collected from Epstein s trash were turned over to Detective
    Pagan for evidentiary purposes.

    On April 05, 2005 at 9:18 a.m., I met with Town of Palm Beach
    sanitation employee, Jessie Jones. I observed Jones enter the
    driveway of 358 El Brillo Way and collect the trash from Epstein s
    property. I followed Jessie to a predetermined area at which t i me I
    collected the trash bags from the sanitation truck.  I transported the


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     trash bags to the sanitation department, where I sifted through its
     contents . I collected mail correspondences addressed to Jeffrey
     Epstein as well as notepaper {Important Message) with names and
     telephone numbers. The following are items collected from Epstein s
     trash.

    Joanne G . (714 - 0546)
    blank piece of white paper {561- 881-8118)
    black paper {655 - 7626)
    black paper {917 - 783-4113)
    David (772-546-6952)
    MSN Hotmail web page with email address (adrianamucinska@hotmail.com)

    The following items were documented for Detective Pagans
    investigation for evidentiary purposes.

    On April 06, 08, 11, 12, 13, 15, 2005, at approximately 9:30 a.m, I
    met with Town of Palm Beach sanitation employees. I observed the
    employee enter the driveway of 358 El Brillo Way and collect the trash
    from Epstein s property. I followed the employee to a predetermined
    area at which time I collected the trash bags from the sanitation
    truck. I transported the trash bags to the sanitation department,
    where I sifted through its contents.

    All of the documents collected from Epstein s trash during my
    assistance were turned over to Detective Pagan for evidentiary
    purposes.

    On June 14, 2005, Detective Michelle Pagan contacted me and advised
    that the airplane belonging to Jeffrey Epstein of 358 El Brillo Way
    was parked at the Palm Beach International Airport.

    Detective Pagan requested that I begin trash pulls for the purpose of
    gathering evidence and intelligence.

    I made contact with Town of Palm Beach Sanitation Office Supervisor
    Tony Higgins and requested trash pulls for 358 El Brillo Way to begin
    on June 15, 2005.

    On June 15, 2005, I met with a sanitation employee. I observed the
    employee enter the driveway of 358 El Brillo Way and collect the trash
    from Epstein s property. I followed the employee to a predetermined
    area at which time I collected the trash bags from the sanitation
    truck. I transported the trash bags to the sanitation department,
    where I sifted through its contents . The trash yielded negative
    results and no evidence was collected .
     No further trash was collected throughout the week due to the fact
     that Epstein s security gates remained closed throughout the week;
     therefore, the sanitation employees were unable to gain access onto
     the property for collection of the trash.



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     All evidence and intelligence gathered by this officer has been turned
     over to the detective bureau and no further action has been taken by
     this officer .
      End of supplement.


****************************NARRATIVE                      # 9 ***************************
NA                              Reported By: RECAREY, JOSEPH                                      10/07/05
                                Entered By.: ALTOMARO, NICKIE A.                                  10/10/05
     On October 4, 2005, I made telephone contact with                        •
     who had left several messages on voice mail. During the message , she
     adv.·~ed she was not completely truthful when we met in person but•
     would like to speak with me to advise what had happened. She further
     advised she did not want to speak of this incident in front of 11er
     mother. At approximately 15:48 pm, I made telephone contact with
                             561-             During a taped recorded
     s a emen,            , stated the following: Approximately a year ago,
     when she was sixteen~ ars of_ age., ,Eobson took her to Jeff s house
     tw1ce . Tne'f1.rst time she- went, Haley Robson drove to the house.
     They entered through the kitchen area where she was introduced to Sara
     and Jeff. She was taken upstairs to a bedroom by Sara who set the
     room up with a massage bed and brought out the oils to use. Jeff then
     entered the room wearing a towel. He lay on the tabl e and picked out
     a lotion for _ __.:_    to rub on him. At one point during the massage,
     he tried to remove her shirt at which point she became very upset and
     discontinued the massage . Both _      · - ~ and Jeffrey had a verbal •
     disagreement at which time she left without being paid. She met with
     Haley Robson who was sitting in the kitchen and told her lets go.
     - - - advised she received no money for that day.          - · ·~ ·  also
     ~ Haley Robson had told her if she was uncomfortable with what
     was going on, to let him know and he 11 stop. She knew that the more
     you do the more you are paid.
      Several weeks later,              advised she agreed to be taken a secopd
      time by Haley Robson. , Once they arrived at the residence, Haley sat
      in the kitchen and Sara took her upstairs to the master bedroom again .
       Sara set the room up with a massage bed and brought out the oils to
      use. Jeff then entered the room wearing a towel. He lay o n the table
      and picked out a lotion for -      · - · to rub on him. At one p o int
      during the massage, he tried to touch her buttocks. As                         was
      wearing tight jeans and had a tight belt on Jeff was unable to touch
      her buttocks. Jeff then rolled onto his back during the massage; he
      attempted to touch her breasts. _ _ __ _____ then became upset again and
      told him she didn t want to be touched.                       disc onti nued the
      massage and was paid $200 . 00 . - · . · -.:_ __ _ then went downs tairs where
      Haley Robson was waiting for her. She told Robson she wanted to
      leave.   ·_ _-~----- said she never returned to the house.
      stated she is aware that her friend, -                    - · _. was also at the
      hou~         ad a problem with Jeff. She provided a telephone nwnber
      for -          The interview wa s concluded and the micro cassettes were


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     turn in as evidence .

    On October 5, 2005, I researched the incoming telephone number that
    had left . . . . . . . . . . a message . The telephone number, 917-855-3363,
    was assign~                 ingular Cellular service. I prepared a subpoena
    request and faxed the request to the State Attorneys Office .
    Information requested was subscriber information as well as all
    incoming and outgoing calls for the months of September and October
    2005.

     I later researched --                     a.,nd discovered she
                  Det. ~                      veto
                     at her residence

              agreed to speak with us in the kitchen area. During a sworn
     taped statement,             stated the following : On or about November
     2004, she was approached by Haley Robson and asked i f she wanted to
     make money. She agreed and was told she would provide a massage to
     weal thy man i n Palm Beach . Robson picked her up and drove her to a
     house in Palm Beach. She was br~                 t ~ kitchen area of the
     house. She further stated that         ............-1   and
     went with them. They were brought i nto the kitchen where she was
     introduced to Jeff and other females.               . stated she was
     introduced to a helper of Jeff; the female was described as white
     female (unknown name), with blond hair. She stated that the assistant
     was familiar with Robson. The assistant set up the massage tabl e and
     put out lotions to be used . She told - -            Jeff would available i n a
     minute . Jeff entered the room wearing only a towel. Jeff l ay on the
   ~ table and picked a lotion to rub on his thighs and back.
   - - further stated that during the massage Jeff asked her to remove
     her clothes. She complied and removed her pants and blouse .
     didn ' t reme'mber if she had removed her bra but feels that she did.
   -          was certain that she stayed in her thong underwear. -
     continued the massage and at one point she straddled him to massage
     his back , which touched his buttocks with hers. -              was inst:r;uetee.
     to return to the ground at which tome Jeff turned to have his chest-,.
     r u bbed. ___ _ ____ advised it was at this t ime she is sure he was
     mastu rbating . ~ ..• ·    did not want to look at his penis area "b~ause
     she was uncomfortable. Jeff removed a large white vibrator and turne"a
     i t on.   I ·•      stated he began rubbing the vibrator over her thong
     underwear onh er vaginal are~. Shortly thereafter, Jeff ejaculated
     and removed himself from the table. He walked over to where the
     shower was and opened the glass door. She waited as he was taking a
     shower in her d~rect view. When I asked ~                ow old she was when
     this occurretl, she stated she had just turned seventeen . • At the
     conclusion of the shower,           _ was paid either $350.00 or $400.00.
     She stated she wasn t sure, but knows it was close to $400.00. At the
     conclusion of the interview,       I ·■ stated she never returned to
     provide a massage for Jeff. She advised she was ashamed and
     uncomfortable with the situation .

    Det. Dawson and I then left the area and responded to the


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     -      High School where Robson and all the above-mentioned girls had
     attended. I met with School Police Officer, Off Williams. I
         1 · ed I was looking for a previous student who attended
             igh School. I inquired about I    · - _ I I further explained
             was working a case in which most of the girls I have
     interviewed are either witnesses or victims and felt that - - may be
     one as well . Officer Williams researched his previous stu~     records
     and found        I   ·-   -- She attended the same year and graduated
     in the sam~     r as theother girls. I was provided the last known
     address of -     :.
    At approximatel~    :10 pm, Det . Dawson and I met with
    her res i dence, -    -· ··    - ___ -       in                      s
    onl~ sev.enteen years.....-of agei I had notified her mother, Mrs.
            that she would be interviewed reference an ongoing
    investigation in Pa_1:_Il!.. Beach. I assured her that her daughter was not
    a suspect. I e ~ n e d the possibility of her being either a witness
    or victim. Mrs. -             advised she warited -         to cooperate and
    consented to the interview . During a sworn taped statement,
          stated the following : at the age of sixteen, during the month of
    September 20~       e was approached by Haley Robson for a chance to
    make money. -         was friends with the friends of Robson and knew the
    same people. - _        had been previously told by her friends what
    Robson did for Jeff. Robson called a person known to -                 as Sara
    and scheduled the appointment . Robson picked - - r- _ ~ up and drove her
    to Palm Beach to a street called Brillo Way. They drove to the end of
    the street and entered a large driveway. They entered the kitchen
    area of the house and met with Jeff. •               was introduced to Jeff.
    Robson led -       upstairs to the main bedroom area and set up the room
    with a massage table and set out the oils . Robson dimmed the lights
    and turned on soft music. Robson exited the room and Jeff entered the
    room wearing only a towel. Jeff picked oils and instructed her to rub
    his legs, under his buttocks, back and chest area. Jeff asked her to
    get comfortable _____ advised she did not remove her clothes. She
    was wearing tight jeans and a cropped tank top exposing her belly
    area. During the massage, Jeff removed his towel . As•~~- rubbe9
    his chest area, Jeff attempted to reaeh down her pan~s through the
    buttocks area,, however was unable to due to the tightness of the j ~ans
    and a tight belt.         ~      advised Jeff began to masturbate as she 9
    rubbed his chest. Jeff moaned as she rubbed his chest. She observed
    he was continuing to masturbate and attempted to reach up her tank top
    and touch her breasts.                 pulled back and Jeff stopped. However,
    he kept masturbating until he climaxed . . He cleaned himself with the
    towel he was previously wearing . I asked            ..   if she knew the
    difference between circumcised and not circumcised. She explained she
    knew and advised Jeff was circumcised. -                was paid $200.00 for the
    massage and left the area. She met witn Konson who was waiting in the
    kitchen area and left the house.

    -       then explained she never provided another massage for Jeff. She
     did however, go to the house with Robson and I .----- __ :_· -. I as they
      took another friend of Robson's.        advised she was present when


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                          went to work for Jeff. She advised she rode over and
        sat i n t e itchen area with Robson to wait for -         .       , advised
        that while they waited fo~       · i , the house chef prepared iunch for
        them, as it was almost lunchtime. As- - was finished with the
        massage , they left the area. I asked~          if Robson ever told what
        would be expected of her when she provided a massage. --~ -- stated
        yes, Robson told her that a massage would be expected possibly naked
        and possibly some touching involved . . . __ nas no formal training in
        providing massages.
    -         spoke about a third and last time she went to Jeff's house.
        Robson drove another Girl, .                      I
                                                      who is _ _  L_    ~riend, to
                                                                       _ _   ••

        Jeff's house.    •      tated she knew that Robson had made money
        providing girls for Jeff and she wanted to do the same. Robson took
        them in the kitchen area of the house and introduced         -    to Sara.
         Robson and Sara took       ·-  upstairs to the main bedroo~
        advised she doesn t know what happened as ·         did not speak about
        what happened in the room . --~     received $100.00 from Robson for
        going with her to Jeff s house and recommending _ __ __ _ --· -      was
        unable to remembellll_ _ _ _ _ telephone number. The interview was
        concluded and we left the area.
        Investigation Continues . . .

****************************NARRATIVE        # 10 **************************
NA                    Reported By: RECAREY, JOSEPH                  10/09/05
                      Entered By.: ALTOMARO, NICKIE A.              10/10/05
        On October 6, 2005, Det . Dawson and I went to                  ocated
        in Boca Raton. We met with Dean of Students, Paul Turner . I
        explained to Mr. Turner that we were investigating a crime within the
        Town of Palm Beach and felt that a student, -             , may have
        information. Turner confirmed that         is a student and currently
        on the soccer team for                    She was in computer class at
        the time of our arrival. Turner sent a security guard to locate
        in class and bring her to the office. Mr. Turner allowed us to
        interview ~      nan empty conference room.
        At 11:45 am I met with                apd explained to her why we there
        to interview her . She advised she was aware of the ongoing
        investigation. ••■ stated she had previously spoken with -
               who told her she was interviewed by detectives. During a sworn
        taped statement, ■- - stated she knew that Haley Robson worked for
        Jeff in Palm Beach .     _ advised she has been there many times for
        massages. I asked her if she had formal training in providing
        massages,       stated she did not. -       advised she was told what
        was expected of her by providing massages and would have to remove
        clothing but if she felt uncomfortable just to say so and Jeff would
        stop pushing the issue.        began providing massages and advised
        she kept her clothes on. She considered Jeff a pervert who kept
        pushing to go further and further. -       explained she would keep


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     telling him she had a boyfriend and that it would not be right to her
     boyfriend. It wasn t until recently                     admitted to removing her
     clothes and staying in her thong underwear to provide a massage.
   -         explained Jeff wanted to be rubbed on his back and recently ie
     be,gan turning over to have her rub his chest as he masturbated. , He
     would try to touch her breasts as she rubbed his chest.                     stated,
     Jeff would try to get away with more and more on each massage.
     Originally, Robson drove her to the house for the original massage.
             left Sara her cell phone number and every time Jeff would come
     into town, Sara would call her for an appointment . Each time she
     went, Sara would meet her at the kitchen door                area.She would bring
     her upstairs and prepare the massage table. ~• ••• idvised Jeff would
     ask her questions about herself. He knew she was a                              and
     would
     age, _
                 h§
                fttending                              I asked
                   stated Jeff didn t care. The mqs~ recent massag~
                                                                     if he knew her real
                                                                                 e -
     prov..ided-w:as-.on._QQ..tob_e ~ _.!., ~0_05 . During the massage she asked Jef t'"' if
     she could borrow one of his vehicles "to visit her family and boyfriend
     in Orlando. Jeff had told she could borrow one of his vehicles but
     later stated he would rent her a car. She continued with the massage
     as Je ~r,abbed. her .buttocks and caressed the buttocks checks. , I
     asked -        if she was wearing underga rments to which she replied her
     thong underwear. Once he tried to touch her breasts she would pull
     away from him and he would stop.                     was asked if he ever used a
     vibrator on her. ■-               was aware of the vibrator but advised she
     never would allow him to use the vibrator on her. She described the
     vibrator as a large white vibrator with a huge head on the tip of the
     vibrator. She stated he kept the vibrator in a closet near the
     massage table. -               advised she had been doing the massage for
     approximately two years, which meant she would have started doing
     massages for Jeff at the age of sixteen .
                                                           t
      -          stated she was contacted by Sara on October 3, 2005. Sara had
          informed her that Jeff had rented her a new Nissan Sentra and she
          should come by the house to pick it up. Sara informed • - - she would
          have the car for a month.    ■    stated Jeff knew her car was not
          working properly and had missed appointments in the past because of
          her car being inoperable .        explained the car is currently parked
          next to the Gym field.   I asked her if she ever took any one to the
          house . ----■ explained she took       _   -·· .  , a friend of hers who
          has returned to Orlando to attend college. I asked she ever allowed
          another female in the room.         advised no one was brought into the
          room with her. At the c onclusio n of the interview, Det. Dawson and I
          went to the Gym area and located the Silver Nissan Sentra bearing
          Florida tag X98-APM. The vehicle is registered to Dollar rent a car
          out of the Palm Beach International Airport.

          Telephone contact was made with               , the victim's mother, at
              ■          I explained to her t hat I was following up o n this case
          and provided a complete update on the case.

          Investigation Continues .



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****************************NARRATIVE               # 11 *************~************
NA                           Reported By: RECAREY, JOSEPH                   10/21/05
                             Entered By.: ALTOMARO, NICKIE A.               10/21/05
       On October 10 , 2005 , at approximately 2:30 p . m., I made telephone
       contact with         • - - ---~~- During a taped conversation, ____ _ was
       told of an ongoing investigation in which I felt she had information
       pertaining to Jeffrey Epstein. - - - explained she met Epstein when
       she was just sixteen years of age. , she was approached by           _
                 a friend who also had previously gone to Epstein's house for
       massages . •     advised she was working at the Wellington Mall when
       she was approached.        -      told her that she would have to provide
       a massage to Epstein and she would have to perform this massage naked.
       - -- thought about the offer and stated she could make $200.00 for
       only 30 minutes of work. She agreed to perform the massage and
               set the appointment for her that same day.           remembered it
       was a weekend as she only worked at the mall on the weekends.
       took her to the house where she was introduced to Sara, Jeff Epstein's
       assistant. Sara took her upstairs to a master bedroom.
       explained that as she was walking up the stairs she observed several
       photographs of naked women along the walls and tables of the house.
            further explained that she was brought into the bedroom where
       Sara prepared the room by setting up the massage table and provided
       the oils for her to rub on Epstein.
       Epstein entered the room and introduced himself. Epstein lay on the
       table and told her to get comfortable. · -■ could not remember if he
       was naked or if he entered the room with a towel. ~         tated she
       provided the massage wearing only her panties. She continued rubbing
       his legs, thighs and feet.          advised he turned over onto his back.
       She continued to rub his legs with the oils. Epstein touched her,
       breasts and began to masturbate. , I asked ____ _ if she knew what
       circumcised and un - circumcised meant.        stated circumcised is when
       the penis has no foreskin and the head of the penis is v'isible .
       said Epstein is circumcised . Hall began to cry on the telephone and
       stated she had been to his house hundreds of times over a two-year
       period. She cl~imed to .have ::inade thousands of dollars during h~~
       visit:s·:· -  ~ ·tated she could not remember how many times exactly s he
       went to Epstein's home but said it was a lot.

   -        became more upset, crying hysterically and stated she was paid
       and instructed to have sex with Epstein's assistant, Nada Marcinkova
       by Epstein. Epstein continued to watch them have sex and masturbated
       himself as they had sex with each other. She further stated that
       things escalated further and further. Epstein used sexual toys such..
       as vibrators, rubber penises and strap-on penises ~n -    ·
       Additionally, -    stated he performed oral sex on her numerous times.
       She claimed he (Epstein) put his fingers i nside her vagina while he
       masturbated in an attempt to make her climax. -      could not continue
       and wanted some time to regain her composure. I explained to -       to
       take her time. After taking several minutes to regain her composure I
       explained that I would travel to meet with her in person as I felt she


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     had additional information to provide. I met with Sgt . Frick and
     explained the importance to meet with -    in person. Sgt. Frick
     agreed and made arraignments for Det. Dawson and I to meet with                        1111
     in Jacksonville, Florida.
       On October 11, 2005, at 4:10 p.m., Det. Dawson and I met with
                      and her friend, Shana Caster at 1071 Kingsley Road in
       Jacksonville, Florida. -     wanted to have Caster present for
       support. I explained to her that I did not have a problem as long as
       she wanted Caster present during the interview.    - - stated she
       wanted her present. I explained that as Caster was present she was
       not allowed to comment or ask any questions during the interview. She
       was only there to comfort -    should the interview upset her.

      During a sworn taped statement, --     explained how everything began.
      She said she was brought through the kitchen area where she met Sara
      for the first time. She was led to the master bedroom, Epstein s
      room.        explained that as she was walking up the stairs she
      observed sever~tographs of naked women along the walls and tables
      of the house. -      further explained that she was brought into the
      bedroom, where Sara prepared the room by setting u ~ e massage table
      and provided the oils for her to rub on Epstein. -       explained she
      remembered the steam room area, which contained two large showers.
      Epstein entered the room from the steam room area and introduced
      himself. Epstein lay on the table and told her to get comfortable .
    -       removed her skirt and kept her shirt on. She could not remember
      if he was naked or if he entered the room with a towel. Epstein then
      instructed her to remove her shirt.         removed her shirt and
      remembered she was not wearing a bra .        stated she provided the
      massage wearing only her pantie s. She continued rubbing his legs,
      thighs and feet.         advised h~ turned over onto his back. She
      continued to rub his legs with the oils. Epstein touched her breasts
      and began to masturbate. Epstein ejaculated which meant the massage
      w~s over. # At the conclusion of the massage, -     was paid $200.00.
      They walke~ether downstairs where Sara and• • • • • • • • were
      waiting . . . . stated -        received an unknown amount of money for
      taking her to Epstein. Epstein instructed to leave her cellular
      telephone number so that he could contact her when he is in town .

   -        explained that she continued to go to Epstein s house and became
       a regular at the house . She could not provide an exact number but
       claimed she had been their hundreds of times . She claimed sexual
       activities did not occur every time she was there . There were times
       she went to dinners and parties with Epstein. -      explained that
       things began to escalate more than the massage. The encounters
       included bringing in his assistant, Nada Marcinkova.    ___ explained
       Epstein had purchased her from her family in Yugoslavia. Epstein
       bragged he brought her into the United States to be his Yugoslavian
       sex slave.       advised he was naked in the bedroom, she entered and
       removed her clothing. Marcinkova entered the room from the steam room
       area already naked. He instructed -     to perform oral sex on
       Marcinkova . -     refused to perform that act. Epstein offered her


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     an additional $200.00 for her to perform oral sex on Marcinkova for
   ._t.i,¥e minutes. ··--- ~greed to perform the oral sex for the additional
     $200 . 00.    - - e~iained that Epstein would masturbate while he
     watched them perform sexual acts.

          Things continued to escalate by purchasing sex toys. -         stated she
          had massagers, vibrators and strap on rubber penises used on her .
          Each_t~ me_ something new was introduced addition~! monies were proq uce2
          and offered for ___•   Lo allow the acts to happen. • • • wa·s adamant
          that she performs all these acts but there was an understanding with
          Epstein that no ~    inal penetration would occui;; with his penis.
          explained that Epstein ' s penis was deformed . • _    explained that his
          penis was oval shaped. She claimed when Epstein ' s penis was erect , it
          was thick toward the bottom but was thin and small toward the head
          portion . She called it egg- shaped.

      -        continued that the sexual encounters with Marcinkova, Epstein and
          her became a ritual. -       would arrive at the house and walk herself
          upstai rs , where Marcinkova and Epstein were waiting. . ··- - would
          remove her clothing and join them on the bed.         explained
          Marcinkova and she would begin by kissing and touching each other .
               explained sex toys were brought into the bed by either Epstein or
          Marcinkova and they would begin using the toys on each other . Epstein
          would perform oral sex on either person depending who was on top
          during the intercourse .         explanation revealed they were in a
          missionary position .

       -      advised one day, -     was unable to state and exact date when
        this incident occurre~      e came to the house after Sara had informed
        her that Epstein had arrived. She arrived at the house and went
        upstairs to the master bedroom.          advised she immediately removed
        her clothing, as Nada Marcinkova and Epstein were already naked in the
        bedroom . -     explained that Nada Marcinkova and she had a sexual
        encounter to include kissing, touching and oral sex. • • • remembered
        that she climaxed and was removing her self from the massage table.
     -        asked for a sheet of paper and drew the massage table in the
        master bathroom and where Epstein, Marcinkova and she were. Epstein
        turned __    on to her stomach on thE,L massage bed and inse-r ted his
        pen~s-int©-her agina. ~       stated Epstein began to pump his p l nis in
        her vagina.        became upset over this. She said her head was bei ng
        held against the bed forcibly, as he continued to pump inside her~
        She screamed no, and Epstein stopped. She told him that she did not
        want to have his penis inside of her . Epstein apologized for his
        actions and subsequen tly paid her a thousand dollars for that visi .
        Additionally, shortly thereafter, Epstein gave -       a 2005 Doge Neon, t
         blue in color for her personal use .

                 advised there were times that she was so sore when she left
          Epstein ' s house.       advised she was ripped, torn, in her vagina
          area .     -- advised she had difficulty walking to the car after
          leaving the house because she wa s so sore.        &Jvised that other
          than that one time, when Epstein inserted his penis inside her vagina,


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     there was no other penile intercourse.
          provided names of girls that she knew of that have gone to
     Epstein's house.       provided the name of              and feels she
     still may be going to the house to massage Epstein. According to
           "       is still sucking his dick."

     When asked if she had been recently contacted by anyone of the h ouse ,
           advised she received an email from Sara, from
     KellenS@earthlink . net, which is her email account. The email was just
     a hello, how are you doing type of email. There had been no other
     contact from the house. The interview was concluded and -- - - left the
     area . The tapes and drawing were submitted into evidence.
     Investigation continues . . .


****************************NARRATIVE         # 12 ***** *********************
NA                     Reported By: RECAREY, JOSEPH                   11/01/05
                       Entered By.: ALTOMARO, NICKIE A.               11/07/05
      On October 12, 2005, Det. Dawson and I traveled to the Orlando area
      and made telephone contact with ~ ,,           V     - - -r---.1. • •     1111 agreed to meet
      with us as we were in the Orlando area . ■■•lprovided directions to
      her apartment . Det. Dawson and I met with -                       ~ - ~ who stated, during a
      sworn taped statement that nochiag-hap11ene.d. bet__we.en e__x_arui. E stej :q..
                appeared nervous during the interview. I assured her that I
      had spoken with other people who advised diffe~ently . -                              stat~
      she only went a couple of times and provided a massage to Epstein. ~
      S e - s't"ated she was brougnc~ o· t:lle 'E;pst"'e"'1.n 1 10use- in ~arch- of-2~ .
   - - - -brought her to work. • --- - . . . has no formal training in
   ~                    ages. C..    Lstated she provided a massage, fully
                                         •

      clothed for $200 . 00. As I sensed hesitancy in her answers, I asked
                if she had been contacted by anyone from the house.
      stated she was interviewed already by an investigator for Epstein. He
      met with her on October 8, 2005, at a Roadhouse in Orlando . He
      identified himself as Paul and inquired about the police investigation
      and left his telephone number 305 -710-5165 for additional contact.
    -           provided no additional information, as it appeared her
      responses were almost scripted. We left the area and returned to Palm
      Beach Police Department .

     Based on the information acquired during the interviews, a search
     warrant was prepared for entry at the Epstein home. On October 18,
     2005, I met with Judge Laura Johnson who reviewed the warrant request.
     She found there was sufficient p~obable cause and signed the warrant
     request . On October 20, 2005, ab approximately 9:36 am, members of
     the Palm Beach Police Investigations Unit executed the search warrant
     at 358 El Brillo in Palm Beach. Members of the Investigations Unit
     included Capt Gudger, Sgt Frick, Det . Dicks, Det. Dawson, Det.
     Melnichok, Det . Sandman, Det. Krauel, the crime scene unit and myself.



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     As we entered onto the property, we encountered the house manager,
     Janusz Banasiak who was in the guest portion of the house. The
     guesthouse section had open doors and no forced entry was made. I
     made contact with Banasiak, Date of Birth 04-07-1953, Fl DL
                           , and informed him of the search warrant for the
     premises. The members of the Police Department entered the residence
     and announced we had a search warrant. A safety search was done and
     members exited the home. I read the search warrant to Banasiak as Mgr
     Parkinson videotaped the search warrant execution. Several interior
     decorators were located on the property. I spoke with Mark Zeff, of
     515 W 20th Street in New York. Mr. Zeff stated he is the designer for
     Mr. Epstein s homes. He advised he was contacted in March of 2005 to
     do a complete overhaul on the house. He advised he was on the phone
     with Mr. Epstein when officers announced the search warrant. Mr.
     Epstein was then made aware of the search warrant. Mr. Zeff advised,
     his contact with Epstein is strictly business and he has never
     witnessed Epstein with any girls except for his assistants, Sara or
     Nada.

       I t hen interviewed Daniel Estes, of 315 East 14th Street in New York.
        Mr . Estes stated he has worked for Zeff for seven years. He advised
       he personally worked on the New York and Palm Beach home for Mr.
       Epstein. He has previously met with Sara and Adrianna, Epstein s
       assistants in New York and in Florida. Estes stated they travel with
       Epstein everywhere he goes.
       I interviewed Zara Bailey of 35 Riverside Jersey City, New Jersey.
       Bailey stated she just arrived from Scotland and has worked with Zeff
       for only one month. She stated she has never met Epstein and has not
       seen him. The interview was then concluded .
       I then spoke with Douglas Schoettle of 243 Riverside Dr in New York
       City. Schoettle stated he has been .Epstein s Architect for seven
       years. He further stated he deals with Epstein s assistants and
       speaks with Epstein on the phone. Schoettle stated he mainly speaks
       with Sara Kellen, Epstein s main assistant, who travels with Epstein.
       Schoettle stated he only has contact with Epstein when his services
       are needed.

       At approximately 10:30 am, I was informed that the videotaping was
       concluded. I entered the residence and located two covert (hidden)
       cameras . The first camera was a covert wall clock in t h e garage area.
       I traced the wire behind the clock and removed the RCA wire and
       unplugged the camera. The other covert camera was located within a
       desk clock beside Epstein's desk. I traced the wire behind the clock
       and unplugged the RCA wire. I could not locate another camera. I
       then began with the search of the residence for the specified
       evidence.

       My search consisted of the second floor . Det . Krauel and I began in
       the master bedroom area where several items were located. They were
       marked to be retrieved by the evidence custodian. In the master desk


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     with Epstein s n o t e _ p a 5 i s ~ E p s t e i n we locat
     s::,cho0l t..ranscript from - - - -High School for
   - -..:!Also in the room, was the dresser /armoire where              a
    ~ O f peach flavored Joy Jelly (Sexual Lubricant) . Additionally,
     there were several photographs of young naked teenage girls within the
     closet, which was consistent with what the witnesses said. The
     massage table was also located within the master bedroom. Video tapes
     were located beside the television, which were also collected. An
     itemized list of the property and locations was prepared on the
     property receipts. At approximately 2:55 pm, the house was secured;
     the exit of the residence was videotaped. Upon our exit of the
     property, I encountered Atty . Guy Fronstein who advised he was
     representing Mr. Epstein. He provided a business card and provided
     his assistance with the investigation .

     Due to Hurricane Wilma, which struck the southeast of South Florida
     causing massive power outages, the courthouse was c l osed due to the
     lack of power . I was previously told that the Chief Judge had
     extended the filing deadlines due to the hurricane and the Courthouse
     being c losed. On October 27, and 28, 2005 the courthouse was closed
     and I could not file the search warrant and inventory at the clerk ' s
     office. On October 31, 2005, I responded to the courthouse and filed
     the paperwork along with an order to seal, signed by Judge Johnson, to
     deny any release of any paperwork on this case.
     INV CONTINUES ..

****************************NARRATIVE                 # 13 **************************
NA                             Reported By: PARKINSON, GREGORY A.            10/20/05
                               Entered By.: ALTOMARO, NICKIE A.              11/07/05
     On October 20, 2005, at approximately 8:30 a.m., Thursday morning, I
     was advised by Captain Gudger that a search warrant would be executed
     and that I was to assemble the Crime Scene Investigative Team and
     stand by the south side of the building ready to go. I designated
     Evidence Specialist Annette Badger to handle the inventory return, the
     documentation of the property receipts and the collection and bagging
     of the evidence at the scene. I further instructed CSI Kim Pavlik, ID
     # 8807, to accompany us and perform the role of photographing the
     scene and the items that may be taken into custody by the affiant,
     Detective Joseph Recarey, ID# 7915.

     My responsibility was to go through from the reading of the warrant to
     the final exit from the residence and perform a video recording of the
     reading of the warrant, the initial walk through of the residence
     showing the current condition and then finally a walk through of the
     residence at the time of the police exit .

     We started out towards the residence, which was located at 358 El
     Brillo and arrived at approximately 9 :3 3 a.m. The search was
     conducted, items were collected by Evidence Specialists Badger,
     photographed by CSI Pavlik and then videotaped by myself. The search


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     was concluded at approximately 3:05 p.m. whereupon Detective Recarey
     and I were the last two officers in the house . Upon securing the
     residence we met with the gentleman who identified himself to
     Detective Recarey as the l awyer for the defendant and he was informed
     that the residence was secured and that copies of the inventory return
     had been left on the first floor table of the personal assistant's
     office.

     Detective Recarey and I returned to Police Headquarters and secured
     for the day .


****************************NARRATIVE         # 14 **************************
NA                     Reported By: DAWSON, MICHAEL C.               11/07/05
                       Entered By.: ALTOMARO, NICKIE A.              11/07/05

    On October 20, 2005, I assisted Defective Recarey in the execution of
    a search warrant at 358 El Brillo Way, Palm Beach, Florida, 33480.

    Upon the announcement of the search warrant, immediate contact was
    made with three white males who came out of the house or surrounding
    structures . Those males were identified as Janusz Banasiak, Daniel
    Estes, and Mark Zeff. As other members of the police department
    cleared the home, I kept watch over these three males. Once the house
    was cleared, those males were turned over to Detective Recarey .
    Detective Dicks and I were assigned to assist in the search of the
    main house, the cabana and the servant's quarters. We started in the
    garage. All areas of the garage were searched to include four
    vehicles. These vehicles were three black Mercedes Benz cars
    registered to Jeffrey Epstein . The fourth vehicle was a Harley
    Davidson motorcycle, green in color, registered to Jeffrey Epstein.
    Nothing was recovered from the garage.

    A towel closet and pantry located off the kitchen were searched and
    yielded negative results.
     The kitchen was searched and taken into evidence was a phone message
     book that was located near a house phone.

     North of the kitchen was an office room which contained a computer .
     The room had a closet that contained a locked gun locker. The
     combination was entered by Banasiak in the presence of Sgt. Frick and
     the safe was opened. Items were taken from the room . See the
     completed property receipt for a detailed list.

    A green bathroom located on the first floor was searched and nothing
    was taken.

    A closet located just west of the green bathroom was searched. Two
    massage tables were located in the closet along with a photo of a nude
    female from the waist up. See the property receipt for details.


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     I searched two bedrooms and t heir adjoining bathrooms, which were
     located on the second floor on the East side of the house. In the
     Northeast bedroom closet I fo~dult,,&rue toys called Twin To:r:pedoes.
      So~p made in the shape of a penLs- and vagina wer€ also found i n these
     upstair bedrooms . See the p roperty receipt for details.
     I searched the pool cabana located on the South side of the pool.
     Photos were taken from the wal l. See the property receipt for
     details.

     I assisted i n the search of Banasiak s living quarters . Numerous CDs
     a l ong wi th a message book was seized. See the property recei pt for
     detail s .

******** ****** ****** **** **** NARRATIVE           # 15 ************ **************
NA                            Reported By: RECAREY, JOSEPH                   11/08/05
                              Entered By.: ALTOMARO, NICKIE A.               11/08/05
     On November 1 , 2005, I was contacted by Atty. Gus Fronstin, who
     advi sed he was willing to assist with the investigation. Atty.
     Fron stin advised he would try to have his client, Jeffrey Epstei n
     available to be interviewed. I ex.plained I would be interested in
     condu cti ng an interview with h i s cli ent as well as oth er employees
     that are employed wi thi n the house. Atty. Fronstin advised he would
     return my call once he recei ved confirmation on the interviews.

     On November 6, 2005, I attempted contact with -
     residence. I left a business card for her to =                1· t her
                                                                        Upon
     returiin
            ii toithe pol ice department, I had received a telephone call
     from          __      I returned her call at               and spoke
     with           She made arrangements to respond to t he station to
     provide an interview. At approximately 3:30 pm, she arrived at the
     Palm Beach Police Station with her boyfriend. Her boyfriend was
     allowed to sit in the lobby a r ea whi le Ms - - was interviewed.
     I took Ms -       to the Detective Bureau Interview room.     I closed the
     door for privacy and ex.pl a i ned to her that I appreciated her coming to
     the police station for the i nterview. During the sworn taped
     statement, she advised she was at Jeffrey Epstein s house on -       1l -
     Approxi mately two months ago, she was approached by a girl,
      ■•±£, who was dating her roommate, to make some quick money
     advised she was in need to make some quick cash to make the rent that
     month . She agreed to go to the house. She had been told by
         · t hat the massage would have to be done in her underwear. She
     advised -      drove with her and brought her into the house  ~   Th
     walked into the kitchen area and took the stairs upstairs .
     further stated she was brought into a master bedroom area.        e
     advised she recalled seeing portraits of naked women throughout the
     room. A massage table was already out near t he sauna/shower area in
     the master bedroom. Epstei               the room wearing only a towel and
     introduced himself as Jeff .            advised she recalled she and -


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